§8 Desc Main

aaa CATES alcodtesrclecoam Com el =Tal (LVN oL0 [mt or= toon

Debtor 1

Debtor 2

Pedro _Maqdaleno

(Spouse, if filing)
United States Bankruptcy Court for the Northern District of Illinois

Case number 19-15148

Official Form 113 IV Check if this is an amended plan,

and list below the sections of the plan
that have been changed
1.12.1 2.2 2.5 3.1 3.2 4.2 6.1 Exhibit

Chapter 13 Plan 12/17

To
Debtor(s):

To
Creditor(s):

This form sets out options that may be appropriate in some cases, but the presence of an option on the
form does not indicate that the option is appropriate in your circumstances or that it is permissible in
your judicial district. Plans that do not comply with local rules and judicial rulings may not be
confirmable.

In the following notice to creditors, you must check each box that applies.

Your rights are affected by this plan. Your claim may be reduced, modified, or eliminated.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney
must file an objection to confirmation at least 7 days before the date set for the hearing on
confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm
this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 3015. In
addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance. Debtors must check one box on each line to
state whether or not the plan includes each of the following items. If an item is checked as “Not
Included” or if both boxes are checked, the provision will be ineffective if set out later in the plan.

1.1

A limit on the amount of a secured claim, set out in Section 3.2, iv I~ Not

which may result in partial payment or no payment to the secured .
creditor. Included included

1.2 Avoidance of a judicial lien or nonpossessory, nonpurchase-money fT I¥ Not
security interest, set out in Section 3.4. Included included

1.3 Nonstandard provisions, set out in Part 8.

T- IM Not

Included included

Official Form 113 Chapter 13 Plan

Case 19-15148 Doc 44 Filed 12/06/19 Entered 12/06/19 15:59:18 Desc Main
Debtor Pedro Magdaleno Document Page 2 of 7ase Number

Plan Payments and Length of Plan

2.1 Debtor(s) will make payments to the trustee as follows

$10,605.76 per Month for 60 months
[and$__ per___for___ months.] /nsert additional lines if needed.

If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent
necessary to make the payments to creditors specified in this plan.

2.2 Regular payments to the trustee will be made from future income in the following manner:
Check all that apply.

~ Debtor(s) will make payments pursuant to a payroll deduction order.
Vv Debtor(s) will make payments directly to the trustee.

[~ Other (specify method of payment):

2.3. Income tax refunds.

Check one

}¥ Debtor(s) will retain any income tax refunds received during the plan term.

Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14
days of filing the return and will turn over to the trustee all income tax refunds received during the plan term.

[~ Debtor(s) will treat income tax refunds as follows:

2.4 Additional payments.
Check one:

IW None. /f “None” is checked, the rest of § 2.4 need not be completed or reproduced.

CT Debtor(s) will make additional payment(s) to the trustee specified below. Describe the source, estimated
amount, and date of each payment.

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $636,345.88.

Treatment of Secured Claims

3.1 Maintenance of payments and cure of default, if any.
Check One.

[~ None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

I¥ The debtor(s) will maintain the current contractual installment payments on the secured claims listed below,
with any changes required by the applicable contract and noticed in conformity with any applicable rules. These
payments will be disbursed either by the trustee or directly by the debtor(s), as specified below. Any existing
arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate
stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the filing deadline
under Bankruptcy Rule 3002(c) control over any contrary amounts listed below as to the current installment
payment and arrearage. In the absence of a contrary timely filed proof of claim, the amounts stated below are
controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then,
unless otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all
secured claims based on that collateral will no longer be treated by the plan. The final column includes only
pRasdslsi nba By toads rathladad B/QK Lptokeitered 12/06/19 15:59:18 Desc Main
Document.......Page.3.of.7

iNameer Current installment Amount of — Interest rate on Monthlyplan Estimated total
creditor Collateral payment (including arrearage _ arrearage (if payment on payments by

; escrow) (if any) applicable) arrearage trustee
Bayview 5504S. Altgeld $2,976.13
Financial St., Chicago, IL_ I Trustee $4,288.84 5.25% $71.48 $182,856.64
Loan 60639 ~ Debtor

3.2 Request for valuation of security, payment of fully secured claims, and modification ofunder
secured claims. Check one.

I~ None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
The remainder of this section will be effective only if the applicable box in Part 1 is checked

IV The debtor(s) request that the court determine the value of the secured claims listed below. For each non-
governmental secured claim listed below, the debtor(s) state that the value of the secured claim should be as set
out in the column headed Amount of secured claim. For secured claims of governmental units, unless otherwise
ordered by the court, the value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy

Rules controls over any contrary amount listed below. For each listed claim, the value of the secured claim will be
paid in full with interest at the rate stated below.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured
claim under Part 5 of this plan. If the amount of a creditor's secured claim is listed below as having no value, the
creditor's allowed claim will be treated in its entirety as an unsecured claim under Part 5 of this plan. Unless
otherwise ordered by the court, the amount of the creditor's total claim listed on the proof of claim controls over any
contrary amounts listed in this paragraph.

The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the
lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

(a) payment of the underlying debt determined under nonbankruptcy law, or

(b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released
by the creditor.

Estimated Amount of Estimated
Name of amount of Collateral Value of claims senior orount of Interest ony total of
creditor creditor's total collateral to creditor's “Gling rate mn Sitor monthly

claim claim payments
PHH 6300 W.

Mortgage $510,000.00 George $390,000.00 $510,000.00 $390,000.00 7.20% $4,714.39 $465,559.26
Services St

3.3. Secured claims excluded from 11 U.S.C. § 506
Check One.

IW None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Lien avoidance.
Check One.

W None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced,

3.5 Surrender of Collateral
Check One.

IW None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
Case 19-15148 Doc 44 Filed 12/06/19 Entered 12/06/19 15:59:18 Desc Main

Document Page 4 of 7
Treatment of Fees and Priority Claims

4.1

4.2

4.3

44

General

Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated
in § 4.5, will be paid in full without postpetition interest.

Trustee’s fees

Trustee's fees are governed by statute and may change during the course of the case but are estimated to
be 8.20% of plan payments; and during the plan term, they are estimated to total$33,583.28.

Attorney's Fees

The balance of the fees owed to the attorney for the debtor(s) is estimated to be$2,000.00.
Priority claims other than attorney's fees and those treated in§ 4.5.
Check one.

I¥ None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

4.5

Domestic support obligations assigned or owed to a governmental unit and paid less thanfull amount.
Check one.

J¥ None. /f “None” is checked, the rest of § 4.5 need not be completed or reproduced.

[0] The allowed priority claims listed below are based on a domestic support obligation that has been
assigned to or is owed to a governmental unit and will be paid less than the full amount of the claim under 11

U.S.C. § 1322(a)(4). This plan provision requires that payments in § 2.1 be for a term of 60 months; seel1
U.S.C. § 1322(a)(4).

Name of Creditor Estimated amount of Claim to be paid

$

Treatment of Nonpriority Unsecured Claims

9.1

5.2

Nonpriority unsecured claims not separately classified.

Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one
option is checked, the option providing the largest payment will be effective. Check al! that apply.

i The sum of $400.00.
[~ 100.00% of the total amount of these claims, an estimated payment of $400.00.

[~ The funds remaining after disbursements have been made to all other creditors provided for in this plan.

If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid

approximately $2,400.00. Regardless of the options checked above, payments on allowed nonpriority
unsecured claims will be made in at least this amount.

Maintenance of payments and cure of any default on nonpriority unsecured claims.Check one.

I¥ None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

9.3 Separately classified nonpriority unsecured claims. Check one.

PRS AP Mond 48 chddQe, 44h refi! sete 448k b oie REEL: 59:18 Desc Main
umen Bag ple

Executory Contracts and Unexpired Leases

6.1 Theexecutory contracts and unexpired leases listed below are assumed and treated as specified. All other
executory contracts and unexpired leases are rejected. Check one.

Tenants to continue payments to debtor under leases for 6300 George and 5504 Altgeld Properties.

I¥ None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upondischarge or closing of the case, whichever occurs

earlier, unless an alternative vesting date is selected below. Check the applicable box to select an alternative
vesting date:

}¥ plan confirmation.

I~ other:

Nonstandard Plan Provisions

8.1 Check “None” or List Nonstandard Plan Provisions

}¥ None. /f “None” is checked, the rest of Part 8 need not be completed or reproduced.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
provision not otherwise included in the Official Form or de viating from it. Nonstandard provisions set out elsewhere
in this plan are ineffective.

These plan provisions will be effective only if the applicable box in § 1.3 is checked.

Case 19-15148 Doc 44 Filed 12/06/19 Entered 12/06/19 15:59:18 Desc Main
Document Page 6 of 7

Debtor Case number

Ea Signature(s):

9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any,
must sign below.

Xe ID Ly la Pry x

“ Signature of Debtor 1 Signature of Debtor 2
j Yh — 2h C
Executed on 0b 0 ( ] Executed on
MM / DD /YYYY MM / DD /YYYY
(WED
x pl RED 12 Og 204

Signature of Attojney for Debtor(s) MM / DD 1YYYY

By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s)
also certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to
those contained in Official Form 113, other than any nonstandard provisions included in Part 8,

Official Form 113 Chapter 13 Plan
Case 19-15148 Doc 44 Filed 12/06/19 Entered 12/06/19 15:59:18 Desc Main

ws _ Document Page 7 of7
Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference

between the amounts set out below and the actual plan terms, the plan terms control.

a. Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)

b. Modified secured claims (Part 3, Section 3.2 total)

c. Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total

d. Judicial liens or security interests Partially avoided (Part 3, Section 3.4 total

e. Fees and priority claims (Part 4 total)

f. Nonpriority unsecured claims (Part 5, Section 5. 1, highest stated amoun)

g. Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total

h. Separately classified unsecured claims (Part 5, Section 5.3 total

i. Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.7 total)

j. Nonstandard payments (Part 8, tota/)

Total of lines a through j

$182,856.64
$465,559.26
$0.00

$0.00
$35,583.28
$400.00
$0.00

$0.00

$0.00

$0.00

$684,399.18
